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                              [Dkt. Nos. 87, 90, 91, 94, 104, and 109]

                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                              CAMDEN VICINAGE

   THE HOMESOURCE, CORP.,

                        Plaintiff,
                                           Civil No. 18-11970-ECR-KMW
               v.

   RETAILER WEB SERVICES, LLC,

                        Defendant.


                                     ORDER

       THIS MATTER is before the Court by way of the following

 motions, letters, and responses to same:

          •   [Dkt. No. 87], a motion by Plaintiff, The HomeSource,
              Corp. (“HomeSource”) for leave to file a second amended
              complaint; and

          •   [Dkt. No. 90], a letter by Defendant, Retailer Web
              Services, LLC (“RWS”), requesting an extension of the
              deadline for discovery motions; and

          •   [Dkt. No. 91], a letter by HomeSource requesting
              extensions to: (1) the deadline for discovery motions,
              (2) the deadline for pretrial factual discovery, and (3)
              the deadline for depositions; and

          •   [Dkt. No. 94], a letter by RWS requesting permission to
              file a sur-reply in opposition to HomeSource’s motion
              for leave to file a second amended complaint [Dkt. No.
              87]; and

          •   [Dkt. No. 104], a letter by RWS requesting leave to file
              a motion to compel discovery; and
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           •    [Dkt. No. 109], a letter by HomeSource responding to
                RWS’s letter [Dkt. No. 104] and requesting an Order
                instructing RWS to provide discovery; and

 the Court having read the submissions and heard the arguments of

 counsel during the on the record, in-person discovery hearing

 (temporarily sealed) held on October 7, 2019; and the Court noting

 the following appearances: Alexis Arena, Esquire, appearing on

 behalf of the Plaintiff The HomeSource Corporation (“HomeSource”);

 and Matthew A. Lipman, Esquire, William C. Wagner, Esquire, and

 Adam Wolek, Esquire, appearing on behalf of the defendant Retailer

 Web Services, LLC (“RWS”); and for the reasons set forth more fully

 on the record at the hearing; and for good cause shown:

       IT IS on this the 16th day of October, 2019, hereby

       ORDERED that parties letters requesting an extension of the

 scheduled deadlines, [Dkt. Nos. 90 and 91], are GRANTED.                  The

 schedule will be set pending the resolution of the renewed motion

 for leave to file a second amended complaint; and it is further

       ORDERED that          Plaintiff's    m otion, [Dkt. No. 87],   seeking

 leave to f ile a second amended complaint shall be, and hereby is,

 DENIED WITHOUT PREJUDICE.           The proposed second amended complaint

 does not comply Rule 8’s requirement that the complaint must be

 written       in   “short    and   plain   statement[s].”   F.R.C.P.   8(a).

 Plaintiff, however, is granted leave to file a renewed motion for

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 leave to file a second amended complaint by November 8, 2019; and

 it is further

       ORDERED    that Defendant’s request to file a sur-reply in

 opposition to the motion to file a second amended complaint is

 DENIED as moot; and it is further

       ORDERED that HomeSource shall respond to RWS’s discovery

 requests as follows:

       1.   HomeSource shall identify each customer it allegedly
       lost and the purported damages HomeSource incurred as a
       result of each lost customer. 1    To this end, the Court
       determined that the information may be contained in various
       documents already produced by HomeSource, however, the
       information is not provided in a reasonable manner
       susceptible of discernment by defendant.         The Court
       encourages plaintiff to consolidate the information in one
       document that clearly sets forth the name of each customer
       and damages asserted as to each customer.

       2.   HomeSource shall produce any and all documents and
       records that form the basis of its’ experts’ damages
       calculations.    See F.R.C.P. 26(a)(2)(B)(i) and (ii).
       However, RWS’s request for all writings, communications,
       messages, and emails is overly broad and unduly burdensome.
       RWS shall revise and resubmit the request.

       3.   HomeSource shall produce each executed contract of the
       customers it contends were lost to RWS based on the conduct
       RWS allegedly engaged in that forms the basis of the instant
       lawsuit.

       4.   HomeSource alleges that it lost customers because of
       RWS’s Newsletter. Insofar as information exists that (1)
       potential HomeSource customers remained customers of RWS
       based on the News Letter, and/or (2) HomeSource customers
       left HomeSource and became RWS customers based on the News

 1The Court reserves ruling on whether HomeSource is entitled to
 information concerning RWS’s financial information—namely any
 increase to RWS’s income at the time the Newsletter was released.
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       Letter, then HomeSource shall provide an affidavit or
       certification confirming  that  it  has  provided all
       information.

       5.   HomeSource shall make the “mirror image” 2 of the
       database available to defendant’s expert. The experts shall
       meet and confer and confirm the search undertaken by
       plaintiff’s expert and the search protocol to be undertaken
       by defendant’s expert. Defendant shall provide plaintiff
       with the search protocol.      If there are objections to
       defendant’s proposed search protocol, the parties shall
       present the issue to the Court.

       6.   HomeSource shall provide an affidavit or certification
       detailing all information it possesses concerning the
       alleged hacking and/or cyber-attacks and/or denial of
       service (“DoS”) and/or distributed denial of service
       (“DDoS”) attacks. RWS presented Exhibit 5 at the hearing.
       The affidavit or certification shall confirm whether the
       information contained in Exhibit 5 is the only evidence
       HomeSource possesses regarding the alleged cyber and/or
       hacking attacks.    The affidavit or certification shall
       further confirm that any and all information concerning the
       alleged cyber and/or hacking attacks has been produced to
       RWS; and it is further

       ORDERED that RWS shall provide the following in response to

 HomeSource’s discovery requests:

          1. An affidavit or certification detailing the efforts
             undertaken   to  comply   with   plaintiff’s  Document
             Requests: 2, 5, 6, 13, and 17.       The affidavit or
             certification    shall     further    confirm    RWS’s
             representation that there are no additional documents
             responsive to Document Requests: 2, 5, 6, 13, and 17.

 2The Court’s April 9, 2019 Order [Dkt. No. 81] directed HomeSource
 to “immediately (if it has not already done so) create a Mirror
 Image of the date base it will use to compare RWS’s IP addresses
 against for the purposes of determining whether any RWS IP address
 was connected to the alleged ‘hacking event.’ The Mirror Image
 shall have a hashvalue as it is beyond cavil that ‘hashing’
 guarantees the authenticity of the original data set.” Discovery
 Order, [Dkt. No. 81], at 1, ¶2.
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          2. RWS represented to the Court that RWS employed an
             intern who developed a program for RWS. According to
             RWS, the program opened webpages so RWS could
             investigate whether the webpage was operated by RWS or
             HomeSource. To this end, in response to Plaintiff’s
             request,   RWS   shall   produce   an   affidavit   or
             certification from the intern who developed the
             program. The affidavit or certification shall detail,
             step-by-step, what the program does and how the intern
             created the program.

          3. RWS shall produce as Attorneys Eyes Only any and all
             information responsive to Document Requests: 19, 30,
             and 31.

          4. RWS    shall    provide    complete     responses   to
             Interrogatories: 21, 22, and 23.      HomeSource shall
             revise and resubmit Interrogatory 24.

          5. To the extent that RWS asserts it has fully responded
             to HomeSource’s discovery requests, then RWS shall
             provide an affidavit or certification stating same; and
             it is further

       ORDERED that the parties shall meet and confer concerning

 all other outstanding discovery requests.



                                       s/ Karen M. Williams
                                       KAREN M. WILLIAMS
                                       United States Magistrate Judge


 cc:   Hon. Eduardo C. Robreno, U.S.D.J.




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